                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN

MIKHAIL LEONIDOVICH VASERMAN,

                       Plaintiff,

               v.                                             Case No. 20-C-330

ANDREW M. SAUL,
Commissioner of Social Security,

                       Defendant.


                                              ORDER


       Plaintiff Mikhail Leonidovich Vaserman filed a complaint seeking review of a decision of

the Commissioner of Social Security on March 2, 2020. This matter comes before the court on

Plaintiff’s motion requesting my disqualification in the case. Plaintiff asserts that he disagrees

with the court’s September 28, 2020 order, which granted the Commissioner one final extension

to file the certified administrative case record, and that, based on the decision, Plaintiff believes

the court favors the defendant. Section 445 requires that a federal judge “disqualify himself in any

proceeding in which his impartiality might reasonably be questioned” or when he “has a personal

bias or prejudice concerning a party.” 28 U.S.C. § 455(a)–(b). Plaintiff’s assertions are based on

nothing more than his opinion that the court disfavors him. A court’s unfavorable ruling is not a

reason for a judge to recuse himself from a case, however. See Liteky v. United States, 510 U.S.

540, 555 (1994) (“[J]udicial rulings alone almost never constitute a valid basis for a bias or

partiality motion.”). The court does not harbor any bias or prejudice in this case. Because there

is no basis for recusal in this case, Plaintiff’s motion for disqualification (Dkt. No. 30) is DENIED.

       SO ORDERED at Green Bay, Wisconsin this 21st day of October, 2020.

                                                      s/ William C. Griesbach
                                                      William C. Griesbach
                                                      United States District Judge
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